
USCA1 Opinion

	




                              _________________________
          No. 97-1329
                                  LEVINSKY'S, INC.,
                                Plaintiff, Appellee,
                                         v.
                               WAL-MART STORES, INC.,
                                Defendant, Appellant.
                              _________________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                       [Hon. Gene Carter, U.S. District Judge]
                              _________________________
                                       Before
                          Selya and Lynch, Circuit Judges,
                         and Pollak,* Senior District Judge.
                              _________________________
               Jonathan S. Piper, with whom Charles J. Glasser, Jr., Preti,
          Flaherty, Beliveau &amp; Pachios, Peter J. DeTroy, Russell B. Pierce,
          Jr., and Norman, Hanson &amp; DeTroy were on brief, for appellant.
               Karen Frink Wolf
                              , with whom 
                                          Harold J. Friedman
                                                             and 
                                                                 Friedman &amp;
          Babcock were on brief, for appellee.
                              _________________________
                                 September 26, 1997
                              _________________________
          _______________
          *Of the Eastern District of Pennsylvania, sitting by designation.

                    SELYA, 
                          Circuit Judge
                                       . Our enduring national devotion to
          freedom of expression, embodied in the First Amendment and renewed
          in 
            New York Times Co.
                               v. 
                                  Sullivan, 376 U.S. 254 (1964), inevitably
          means that much offensive and inaccurate speech will remain free
          from legal constraints. Still, there are boundaries past which
          speakers cannot trespass. This case illustrates how difficult it
          is to trace those boundaries with the precision that the law
          demands.
          I. STORE WARS
                    The events that gave rise to this litigation are
          controversial but, for the most part, not controverted. We present
          a balanced synopsis here.
                    The plaintiff, Levinsky's, Inc. (Levinsky's), is a
          family-owned business that operates three retail clothing stores in
          Maine. It has deep roots in the community. The defendant, Wal-
          Mart Stores, Inc. (Wal-Mart), is the nation's largest retailer. It
          is a relative newcomer to the Maine marketplace. The two compete
          head to head in the Portland area.
                    In the fall of 1994, Levinsky's decided to run a tongue-
          in-cheek radio advertisement that forged a comparison between it
          and Wal-Mart. A snippet from the ad reflects its tone:
          "Levinsky's has a great selection and the lowest prices in Maine on
          Levi's jeans, Dockers and denim shirts. Wal-Mart doesn't carry
          Levi's, but we did get a good buy on a toaster." The spot aired in
          the Portland area for about six weeks during the pre-Christmas
          shopping season.
                                          2

                    Intrigued by the unorthodox advertising campaign, Michael
          Boardman, a free-lance writer for the Portland business magazine
          Biz, decided to write a "David versus Goliath" story about
          Levinsky's aggressive reaction to Wal-Mart's entry into the
          marketplace. The article appeared in  Biz's January/February 1995
          issue under the headline "Levinsky's: Leaner and meaner with
          retail competition." In the text, Boardman compared Levinsky's to
          a "feisty kid who fights the school bully for his lunch money."
                    While researching the story, Boardman telephoned Gilbert
          Olson, the manager of Wal-Mart's store in Scarborough, Maine (a
          Portland suburb). Olson testified that he thought Boardman was a
          college student researching a paper, but Boardman maintained that
          he clearly identified himself as a journalist and stated the
          purpose of his call. At any rate, Olson made two statements during
          his conversation with Boardman that lie at the epicenter of this
          appeal. First, he described a Levinsky's store as "trashy."
          Second, he stated that when a person called Levinsky's, "you are
          sometimes put on hold for 20 minutes _ or the phone is never picked
          up at all."  Biz printed these (and other) remarks, attributing
          them to Wal-Mart.
                    Shortly thereafter, Levinsky's and several family members
          sued Wal-Mart for defamation, injurious falsehood, false light,
          deceptive trade practices, interference with advantageous economic
          relations, and infliction of emotional distress. Their complaint,
          filed in the federal district court under diversity jurisdiction,
          28 U.S.C. S 1332(a) (1994), sought $40,000,000 in compensatory and
                                          3

          presumed damages, plus punitive damages equal to 2% of Wal-Mart's
          net worth. Most of these claims were weeded out before or during
          trial. The defamation claims survived. The jury found that the
          individual family members had not been defamed, but awarded
          Levinsky's $600,000 for presumed damages to reputation
          (notwithstanding the lack of any specific evidence of actual
          pecuniary loss). The jury also determined that Olson had not acted
          with ill will and declined to award Levinsky's exemplary damages.
                    The district judge upheld the verdict and made several
          rulings that bear on this appeal. First, the judge found that the
          verdict did not offend the First Amendment because both the word
          "trashy" and the "20 minutes on hold" comments stated opinions that
          implied provably false facts. Second, because Olson's statements
          related to Levinsky's business, the judge concluded that presumed
          damages were available. Third, emphasizing Olson's subjective
          belief that he was not speaking to a reporter but to a university
          student, the judge determined that Olson's comments did not relate
          to a matter of public concern, and that, therefore, Levinsky's did
          not need to show actual malice as a precondition to the award of
          presumed damages. Fourth, the judge ruled that, under Maine's
          defamation per se doctrine, a finding of defamation that related to
          the plaintiff's business established legally sufficient fault and
                              
               Among other things, the district court ruled that other
          statements which Olson had uttered were not actionable and
          pretermitted various causes of action. These matters are not
          within the compass of this appeal and we make no further mention of
          them.
                                          4

          thus obviated any need for a jury instruction on negligence.
          II. A SHOPPING LIST
                    This appeal offers a large inventory of interleaved legal
          issues. We pick our way through that inventory by traversing the
          intersection of the First Amendment and state defamation law as it
          has developed over time, noting, inter alia, a restriction on the
          scope of defamation imposed by Maine law. We next discuss one of
          the two allegedly defamatory statements _ the "trashy" reference _
          and conclude, as a matter of federal constitutional law, that it
          cannot support a recovery. We then address the second statement _
          "20 minutes on hold" _ and conclude that it is actionable. We move
          at that point to the matter of public concern (but do not resolve
          it). Finally, because a new trial is required, we offer some
          guidance to the district court in connection with the role of
          negligence in Maine defamation cases.
          III. STAPLES: THE FIRST AMENDMENT AND STATE DEFAMATION LAW
                    For many years, states enacted statutes and applied
          common law tort principles in the area of defamation with no more
          than a passing nod to the First Amendment's free speech guaranty.
          This era of constitutional non-interference ended when the Justices
          proclaimed "a profound national commitment to the principle that
          debate on public issues should be uninhibited, robust, and wide-
          open, and that it may well include vehement, caustic, and sometimes
          unpleasantly sharp attacks on government and public officials."
          New York Times
                       , 376 U.S. at 270. Faithful to this ideal, the Court
          announced that the First Amendment precludes recovery by a public
                                          5

          official under state defamation law unless the official shows that
          the speaker acted with actual malice, that is, with knowledge of or
          reckless disregard for the falsity of the statement.  See id. at
          279-80.
                    The seeds sown in 
                                     New York Times
                                                    have blossomed over the
          years, giving rise to a crop of checks on the sweep of state
          defamation law. We harvest four points.
                          A.  Independent Appellate Review.
                    First, the deference traditionally shown by courts toward
          factfinders' determinations is muted when defamation issues
          implicate free speech concerns. In such circumstances, appellate
          judges must conduct a whole-record review and "examine for
          [them]selves the statements in issue and the circumstances under
          which they were made to see . . . whether they are of a character
          which the principles of the First Amendment" protect.  Id. at 285
          (citation and internal quotation marks omitted). This requirement
          of independent appellate review is not a procedural directive, but,
          rather, "a rule of federal constitutional law" that "reflects a
          deeply held conviction that judges . . . must exercise such review
          in order to preserve the precious liberties established and
          ordained by the Constitution."  Bose 
                                               Corp. v. Consumers 
                                                                  Union 
                                                                         of
          United States, Inc.
                            , 466 U.S. 485, 510-11 (1984). Indeed, when the
          imperative of independent review conflicts with a standard
          procedural dictate (such as Fed. R. Civ. P. 52(a)), the
          constitutional mandate controls.  See id. at 514.
                    As a practical matter, this requirement means that
                                          6

          federal courts engage in de novo review when mulling defamation
          issues that are tinged with constitutional implications.     See,
          e.g., 
               id. at 511, 514; 
                                Connick v. 
                                          Myers, 461 U.S. 138, 147-48 &amp; n.7
          (1983); 
                 Phantom Touring, Inc.
                                       v. 
                                          Affiliated Publications
                                                                 , 953 F.2d
          724, 727 (1st Cir. 1992); 
                                   Kassel v. 
                                             Gannett Co.
                                                        , 875 F.2d 935, 937
          (1st Cir. 1989). Maine courts follow the same course. See 
                                                                    Rippett
          v. Bemis, 672 A.2d 82, 86 (Me. 1996); Caron v. Bangor Publ'g Co.,
          470 A.2d 782, 784 (Me. 1984).
                           B.  Opinions May Be Actionable.
                    The First Amendment does not inoculate all opinions
          against the ravages of defamation suits. A statement couched as an
          opinion that presents or implies the existence of facts which are
          capable of being proven true or false can be actionable.      See
          Milkovich v. 
                      Lorain Journal Co.
                                        , 497 U.S. 1, 18-19 (1990); 
                                                                   see 
                                                                       also
          Restatement (Second) of Torts S 566 (1977) ("A defamatory
          communication may consist of a statement in the form of an opinion,
          but a statement of this nature is actionable only if it implies the
          allegation of undisclosed defamatory facts as the basis for the
          opinion."). Thus, a statement normally is not actionable unless
          it contains an objectively verifiable assertion.   Chief Judge
                              
               Restatement S 566 seemingly applies the 
                                                      Milkovich standard to
          defamation actions regardless of whether the challenged statements
          address issues of public or private concern. This formulation
          accurately reflects Maine's defamation law. See, 
                                                           e.g., 
                                                                 Staples v.
          Bangor Hydro-Elec. Co.
                               , 629 A.2d 601, 603 (Me. 1993); 
                                                               Lightfoot v.
          Matthews, 587 A.2d 462, 462 (Me. 1991).
               The Milkovich Court explained: "If a speaker says, `In my
          opinion John Jones is a liar,' he implies a knowledge of facts
          which lead to the conclusion that Jones told an untruth," and the
                                          7

          Posner has captured the distinction between statements that are
          actionable and those that are not:
                    A statement of fact is not shielded from an
                    action for defamation by being prefaced with
                    the words `in my opinion,' but if it is plain
                    that the speaker is expressing a subjective
                    view, an interpretation, a theory, conjecture,
                    or surmise, rather than claiming to be in
                    possession of objectively verifiable facts,
                    the statement is not actionable.
          Haynes v. 
                   Alfred A. Knopf, Inc.
                                        , 8 F.3d 1222, 1227 (7th Cir. 1993).
                    The Milkovich Court was careful not to discard the baby
          with the bath water: while leaving some statements of opinion
          exposed, the Court reaffirmed the protection long afforded to
          "imaginative expression" and "rhetorical hyperbole." 497 U.S. at
          17, 20. Thus, the First Amendment prohibits defamation actions
          based on loose, figurative language that no reasonable person would
          believe presented facts. See, 
                                        e.g., 
                                             Letter Carriers
                                                             v. 
                                                                Austin, 418
          U.S. 264, 284-86 (1974) (holding that use of the word "traitor" to
          define a worker who crossed a picket line was not actionable);
          Greenbelt Coop. Publ'g Ass'n v. Bresler, 398 U.S. 6, 13-14 (1970)
          (holding that a newspaper's characterization of a developer's
          negotiating position as "blackmail" was not defamatory; the word
          was simply an epithet and, under the circumstances, did not suggest
          commission of a crime); Phantom Touring, 953 F.2d at 728 (calling
          a play "a rip-off, a fraud, a scandal, a snake-oil job" was mere
                              
          comment can be actionable. 497 U.S. at 18. By contrast, if the
          speaker says, "In my opinion Mayor Jones shows his abysmal
          ignorance by accepting the teachings of Marx and Lenin," the First
          Amendment bars recovery because the statement cannot be objectively
          verified.  Id. at 20.
                                          8

          hyperbole and, thus, constitutionally protected).
                    The First Amendment's shielding of figurative language
          reflects the reality that exaggeration and non-literal commentary
          have become an integral part of social discourse. For better or
          worse, our society has long since passed the stage at which the use
          of the word "bastard" would occasion an investigation into the
          target's lineage or the cry "you pig" would prompt a probe for a
          porcine pedigree. Hyperbole is very much the coin of the modern
          realm. In extending full constitutional protection to this
          category of speech, the  Milkovich Court recognized the need to
          segregate casually used words, no matter how tastelessly couched,
          from fact-based accusations.
                     C.  Actual Malice Sometimes Must Be Shown.
                    The Supreme Court has ruled that the First Amendment not
          only restricts the types of actionable statements, but also limits
          the kinds of recoverable damages. Of particular relevance here is
          the Court's holding that a private individual who seeks damages for
          a defamatory statement involving a matter of public concern cannot
          recover presumed or punitive damages absent a showing of actual
          malice.  See Dun 
                           &amp; 
                             Bradstreet, 
                                         Inc. v. Greenmoss 
                                                           Builders, 
                                                                      Inc.,
          472 U.S. 749, 751, 756-57 (1985); 
                                           Gertz v. 
                                                    Robert Welch, Inc.
                                                                      , 418
          U.S. 323, 349 (1974). Determining whether an allegedly defamatory
          statement involves a matter of public concern requires a court to
          assess the statement's "content, form and context . . . as revealed
          by the whole record."  Dun &amp; Bradstreet, 472 U.S. at 761 (quoting
          Connick, 461 U.S. at 147-48). Withal, locating particular
                                          9

          statements along the public/private continuum is sometimes a
          surpassingly difficult task.
                           D.  Fault Always Must Be Shown.
                    The fourth principle that must be understood before we
          embark on our odyssey through the record is a restriction on
          defamation that Maine's jurisprudence hallows, though its
          constitutional credentials remain inscrutable. Simply put, Maine
          defamation law does not recognize liability without fault; rather,
          as a predicate to recovery, Maine requires a defamation plaintiff
          to show that the defendant acted at least negligently. See 
                                                                     Lester
          v. Powers, 596 A.2d 65, 69 (Me. 1991).
          IV. THE NATURE OF THE STATEMENTS
                    The two statements that the district court permitted the
          jury to consider are not in legal equipoise. Hence, we discuss
          them separately.
                                 A.  Talking Trash.
                    The district court ruled that the adjective "trashy"
          stated an opinion that implied a provably false fact and was,
          therefore, actionable. This ruling rested on the court's expressed
          view that the term had a single, readily ascertainable meaning _
                              
               It is unclear whether the First Amendment prohibits a state
          from imposing strict liability in a defamation case brought by a
          private plaintiff concerning statements that implicate a matter of
          private concern.  See Snead v. Redland Aggregates, Ltd., 998 F.2d
          1325, 1334 (5th Cir. 1993) (discussing the question and concluding
          that the First Amendment "imposes no minimum standard of fault in
          private/private libel cases"). Because Maine has articulated a
          minimum negligence standard for all defamation actions, we need not
          ponder the constitutional issue here.
                                         10

          "dirty or unkempt" _ and that, in Judge Carter's words, Olson's
          statement could be "verified or disproved through straightforward
          inquiry into the condition of [Levinsky's] store's physical
          appearance." We do not agree.
                    Despite avowals that all speech is infinitely malleable,
          see, e.g., Lewis Carroll, Through the Looking Glass, ch. 6 (1872)
          (reporting Humpty Dumpty's declaration: "When I use a word, it
          means just what I choose it to mean _ neither more nor less."), the
          First Amendment does not allow courts the luxury of a
          deconstructionist approach to language. Some words or phrases
          evoke a multiplicity of meanings; others do not. Under the aegis
          of the First Amendment, a particular word or phrase ordinarily
          cannot be defamatory unless in a given context it reasonably can be
          understood as having an easily ascertainable and objectively
          verifiable meaning. The vaguer a term, or the more meanings it
          reasonably can convey, the less likely it is to be actionable.
          See, 
              e.g., 
                    Phantom Touring
                                   , 953 F.2d at 728 (holding that newspaper
          articles that referred to the plaintiff's production of "The
          Phantom of the Opera" as "fake" and "phony" were not actionable
          because the descriptions were "unprovable," inasmuch as "those
          adjectives admit of numerous interpretations"); 
                                                        McCabe v. 
                                                                  Rattiner,
          814 F.2d 839, 842-43 (1st Cir. 1987) (holding that a newspaper
          headline which referred to the plaintiff's real estate development
          as a "scam" was not actionable because the word means different
          things to different people and "[t]he lack of precision makes the
          assertion `X is a scam' incapable of being proven true of false").
                                         11

                    It is against this mise-en-scene that we must explore the
          meaning of the word "trashy." We start, as we often do in
          searching out the meaning of a word, with the dictionary.
          Lexicographic sources do not reflect any specific meaning of the
          word. See, 
                     e.g., 
                           Webster's Third New International Dictionary
                                                                       2432
          (1986) (defining "trashy" as "resembling or containing trash: of
          inferior quality: worthless . . . covered or strewn with dried or
          withered vegetable matter"); 20 Oxford English Dictionary 440 (2d
          ed. 1989) (defining "trashy" as "[o]f the nature of trash;
          rubbishy; worthless . . . . [e]ncumbered with trash, that is, with
          the withered growth of the previous season"); 
                                                      The American Heritage
          Dictionary 
                     of 
                        the 
                            English 
                                    Language 1904 (3d ed. 1992) (defining
          "trashy" as "[r]esembling or containing trash; cheap or worthless
          . . . [i]n very poor taste or of very poor quality").
                    Going beyond the lexicon, an impromptu survey of the case
          law confirms that the word has been used to convey many different
          meanings.  See, e.g., Giano v. Senkowski, 54 F.3d 1050, 1058 (2d
          Cir. 1995) (Calabresi, J., dissenting) (describing erotic magazines
          as "trashy"); 
                       Johnson v. 
                                  City of Pleasanton
                                                    , 781 F. Supp. 632, 638
          (N.D. Cal. 1991) (using the word to denote inferior physical
          appearance; commenting that satellite antennas make a building look
          "trashy"), 
                    aff'd 
                          in 
                             part, 982 F.2d 350 (9th Cir. 1992); 
                                                                 Christy v.
          Servitto, 699 F. Supp. 618, 625 (E.D. Mich. 1988) (quoting
          attorney's description of a presumably disreputable woman as
          "flashy trashy"), aff'd, 932 F.2d 502 (6th Cir. 1991).
                    Literary sources also illustrate the variations in
                                         12

          meaning associated with the word "trashy." For example, Jeremiah
          Dyke employed the term's "inferior quality" meaning when he spoke
          of "[s]uch solvenly meat, such trashy meat, such bitter meat."
          Jeremiah Dyke, Divers 
                                Select 
                                       Sermons (1640). An English author
          preferred its "prurient interest" connotation when she complained
          of reading "the trashiest heap of novels." Jane Welsh Carlyle,
          Letters 
                  and 
                      Memorials (1883). Edmund Wilson found the "lacking
          worth" meaning useful when he described Rudyard Kipling's 
                                                                   Stalky &amp;
          Company as "crude in writing [and] trashy in feeling." Edmund
          Wilson, The Wound and the Bow 114 (1941). Louis Bromfield showed
          a more traditionalist bent, favoring the classic "covered with
          withered growth" meaning of the word when he wrote of a seedbed
          that "was rough and trashy." Louis Bromfield, Pleasant Valley 174
          (1945). While these four illustrations merely scratch the surface,
          they amply demonstrate the term's definitional flexibility.
                    The usages paraded through the courtroom by Levinsky's
          able counsel reinforce this point. Particularly revelatory are his
          opening and closing statements, in which he seemed frankly to
          acknowledge the word's many connotations. At various times,
          counsel suggested to the jury that Olson's statement referred to
          the manner in which the plaintiff maintained its stores (in this
          context meaning "filthy" and "dirty"), to the merchandise that the
          plaintiff purveyed (in this context meaning "inferior" and
          "crappy"), and to the character of the persons associated with the
                                         13

          enterprise (in this context meaning "sleazy" and "untrustworthy").
          This broadcast acknowledgement that the word "trashy" possesses a
          multitude of fairly ascribable meanings is in itself telling.
                    In this instance, moreover, the inherent elusiveness of
          "trashy" is not pinned down by context. Indeed, the imprecision of
          the word is accentuated by the testimony of the journalist,
          Boardman, who, when asked his understanding of "trashy" as Olson
          had voiced it, responded, "It's always been hard for me to define
          exactly what he was referring to." In the same vein, Boardman
          reported that Olson's only amplification of the remark was that
          "customers should pay a little more money to buy the same item they
          want somewhere else." Like "trashy" itself, this comment presents
          a moving target.
                    The polysemous nature of the word "trashy" dooms
          Levinsky's effort to recover for Olson's use of it. The word
          "trashy" is a chameleon that continuously changes colors and shades
          of meaning. It admits of numerous interpretations. We can imagine
          no objective evidence that might conclusively prove or disprove it.
          Like the equally pejorative terms used in 
                                                   Phantom Touring
                                                                   ("fake,"
          "phony," "rip-off"), McCabe ("scam"), and Dilworth v. Dudley, 75
                              
               These iterations, including the adjectives quoted in the
          parenthetical inserts, appear at pages 22-23 (opening statement)
          and 273-274 (closing statement) of the trial transcript.
               Following the district court's lead, Levinsky's counsel now
          seeks to define "trashy" solely with reference to lack of
          cleanliness. We give this tergiversation short shrift. Those who
          sue for defamation are not at liberty to pick and choose among a
          word's various possible definitions and saddle the speaker with the
          consequences.
                                         14

          F.3d 307, 310-11 (7th Cir. 1996) (allowing no defamation remedy
          when one scholar calls another a "crank"), "trashy" is
          quintessentially subjective.
                    To say more about this point would be supererogatory.
          Branding a store, its merchandise, its customers, or its
          proprietors as "trashy" is uncomplimentary, and it may be
          unwarranted; in the last analysis, however, such a comment is loose
          language that cannot be objectively verified. Consequently, it
          belongs squarely in the category of protected opinion. It follows
          inexorably that Levinsky's reliance on this unflattering adjective
          to underpin a defamation claim offends the First Amendment.   See
          Milkovich, 497 U.S. at 20-21;  Washington v. Smith, 80 F.3d 555,
          556-57 (D.C. Cir. 1996); 
                                  Phantom Touring
                                                 , 953 F.2d at 728; 
                                                                    McCabe,
          814 F.2d at 842-43; see also Fudge v. Penthouse 
                                                          Int'l, 
                                                                 Ltd., 840
          F.2d 1012, 1016 (1st Cir. 1988).
                                    B.  On Hold.
                    The district court likewise ruled that Olson's second
          statement (when calling Levinsky's, "you are sometimes put on hold
          for 20 minutes _ or the phone is never picked up at all")
          encompassed matters of fact (or opinions that implied provably
          false facts) and was, therefore, actionable. Wal-Mart takes
          exception to this ruling. Its principal argument is that
          constitutional shelter for this statement can be found in the First
          Amendment protections typically afforded figurative language and
                                         15

          hyperbole. We think not.
                    Certain excesses of language cannot ground a defamation
          claim because, in context, those excesses involve only puffery or
          epithets, and thus are insufficiently fact-based.     See,  e.g.,
          Austin, 418 U.S. at 284-86 ("traitor"); 
                                                 Bresler, 398 U.S. at 13-14
          ("blackmail"). These turns of phrase are recognized rhetorical
          devices; they are not actionable because they are commonly
          understood, in context, as imaginative expressions rather than
          statements of fact.
                    Paddling furiously to reach this safe harbor, the
          appellant urges us to interpret Olson's comment as an obvious
          exaggeration, tantamount to the statement "you are sometimes put on
          hold forever." No reasonable listener, the appellant asseverates,
          would consider this variant an assertion of literal truth. But the
          appellant's argument requires a leap of faith that we are unwilling
          to essay. The First Amendment does not allow courts to distort the
          reality of events under the guise of protecting freedom of
          expression. Thus, a reviewing court must evaluate a speaker's
          statement as it was given and must resist the temptation to replace
          what was actually said with some more innocuous alternative.
                    The determination of whether a statement is hyperbole
                              
               Wal-Mart's other arguments on this point can be dismissed out
          of hand. In this wise, we note that the record contains no
          evidence from which a jury supportably could find that this comment
          was literally true. At trial, Olson testified that on three
          separate occasions he had called Levinsky's and had been put on
          hold for 
                   a 
                     total 
                            of 
                               20 
                                  minutes 
                                           or 
                                              more (but no longer than 10
          minutes on any one occasion). The appellant adduced no other
          evidence suggesting that Olson's statement was accurate.
                                         16

          depends primarily upon whether a reasonable person could interpret
          the statement to provide actual facts about the individual or
          institution it describes.   See  Milkovich, 497 U.S. at 20;   cf.
          Hustler  
                  Magazine,  
                             Inc. v.   Falwell, 485 U.S. 46, 50 (1988)
          (precluding recovery on the ground that an advertising parody,
          which claimed that a minister had lost his virginity in a drunken
          rendezvous with his mother, was incredible). Under this criterion,
          the "20 minutes" statement seems sufficiently factual to be proved
          true or false. For one thing, Olson's use of a specific time frame
          cuts against treating his remark as hyperbole or other non-factual
          speech. For another thing, the assertion can be verified or
          rebutted by objective evidence of how Levinsky's staff handled
          telephone calls (evidence of the type that, in fact, Levinsky's
          adduced and the jury heard). In addition, the statement is not
          inherently implausible. Especially given the pervasive folklore
          concerning the difficulties that consumers encounter in dealing
          with merchants telephonically, we believe that a reasonable
          listener could interpret the "20 minutes" comment as a statement of
          fact about Levinsky's business practices.
                    As the appellant correctly notes, we cannot take the "20
          minutes" remark in isolation. Seizing this potential lifeline,
          Wal-Mart struggles to persuade us that the second part of Olson's
          statement _ "the phone is never picked up at all" _ colors the
          context and makes it plain that he was speaking figuratively.
          Though context is an important aspect of the 
                                                     Milkovich inquiry, 
                                                                        see
          Phantom 
                  Touring, 953 F.2d at 727; McCabe, 814 F.2d at 842-43, it
                                         17

          does not aid the appellant here. While the second portion of
          Olson's statement does not incorporate a fixed temporal interval,
          that remark, when read in tandem with the first portion of the
          statement, does not defuse the defamatory potential. A reasonable
          listener could well conclude that Levinsky's service was so bad
          that the company not only left customers dangling on the line for
          20 minutes at a crack, but also, on some occasions, simply did not
          bother to answer the telephone.
                    In fine, the overall context does little to dispel the
          impression that Olson's comment stated facts about Levinsky's
          business practices. After all, Levinsky's and Wal-Mart were locked
          in hand-to-hand combat for shoppers' dollars, and Olson held an
          executive position with Wal-Mart. While a reasonable listener
          might be skeptical given Olson's likely motive (to try to lure
          potential customers to his store), he gave his assertion a
          particularized factual component. A listener reasonably could
          conclude that Olson intended to describe from personal knowledge
          how Levinsky's treated callers.
                    The short of it is that neither the type of language
          employed nor the overall tenor of the article negated the
          reasonable impression that Olson steadfastly maintained that
          Levinsky's telephone practices were in fact as he described them to
                              
               Olson did not furnish Boardman, and Boardman did not print,
          any factual predicate for the assertions. This distinguishes them
          from certain comments discussed in  Phantom 
                                                      Touring, 953 F.2d at
          729, where context made it unmistakably clear that the challenged
          speech, though superficially capable of being proved true or false,
          represented only a point of view.
                                         18

          be. On this basis, the "20 minutes" statement properly could be
          treated as fact-based defamation. So viewed, the statement does
          not fit within the contours of protected speech, and it was, as the
          lower court concluded, amenable to suit under the 
                                                          Milkovich regime.
          V. PUBLIC CONCERN
                    Even though the "20 minutes" statement is actionable, the
          appellant has another defense in stock. The jury awarded only
          presumed damages, and the Constitution forbids an award of presumed
          or punitive damages for words spoken without actual malice on
          matters of public concern. See 
                                         Dun &amp; Bradstreet
                                                         , 472 U.S. at 756.
          Wal-Mart contends that this is such a case.
                    The Supreme Court has roughly bisected the sphere of
          social commentary between matters of public concern, which are
          those that can be "fairly considered as relating to any matter of
          political, social, or other concern to the community," and matters
          of private concern, which are those that address "matters only of
          personal interest."  Connick, 461 U.S. at 146-47. A court must
          determine whether a statement comes within the public concern
          hemisphere of this formulation by reference to its "content, form
          and context."  Dun &amp; Bradstreet, 472 U.S. at 761. In order to do
          so, the relevant community need not be very large and the relevant
          concern need not be of paramount importance or national scope.
                              
               Levinsky's assertion that Wal-Mart waived the right to raise
          the public concern issue is meritless. The opinions of the
          magistrate judge and the district judge in this case show beyond
          any peradventure of doubt that Wal-Mart consistently pressed the
          public concern argument in the proceedings below, and the trial
          transcript confirms that fact.
                                         19

          Rather, "it is sufficient that the speech concern matters in which
          even a relatively small segment of the general public might be
          interested." Roe v. 
                              City of San Francisco
                                                   , 109 F.3d 578, 585 (9th
          Cir. 1997).
                    When called upon to perform a public concern analysis,
          courts have found the   Connick line of cases, i.e., judicial
          decisions involving public employees fired for making comments that
          arguably relate to matters of public concern, to be instructive.
          The Supreme Court has approved this analogy, 
                                                      see 
                                                          Dun &amp; Bradstreet
                                                                          ,
          472 U.S. at 759, and we encourage its use. Still, jurists and
          lawyers alike should employ it with a caveat in mind. Public
          employee cases typically involve speech on matters relating to
          public sector jobs, and criticism of the workings of government is
          at the core of conduct protected by the First Amendment.  See New
          York 
               Times, 376 U.S. at 282-83, 292. Statements that implicate
          issues outside the public sector may require more rigorous
          analysis.
                    In this case, the appellant argues that the "20 minutes"
          statement related to a matter of public concern because       Biz
          published it in an article describing the "David versus Goliath"
          battle between Wal-Mart and a local, family-owned business. To
          bolster this argument, Wal-Mart points out that Boardman decided to
          write the piece because this type of business struggle had sparked
          intense interest across the country and because Levinsky's radio
          advertisements had called attention to a local microcosm of this
          struggle. Levinsky's counters by characterizing the comments as
                                         20

          statements made in the course of a dispute between two private
          businesses. The mere fact that the competition between the two
          merchants interested a journalist, Levinsky's posits, does not make
          the matter one of public concern.
                    The district court decided this issue in Levinsky's
          favor, but based its decision entirely on Olson's testimony that he
          thought he was engaged in a private conversation with a college
          student. This prop is very shaky. Passing the probability that
          the prop is constructed from less than sturdy factual material _
          Olson's query to Boardman ("You're not going to use my name, are
          you?") suggests that at some point he did realize that Boardman
          would convey his comments to a wider audience _ we do not think
          that a speaker's subjective belief as to who will hear his
          statements should be the sole determinant of the constitutional
          question.
                    To be sure, we have recognized that in some circumstances
          a private statement might not qualify "on the basis of its content
          alone, as a matter of inherent public concern," and that a court
          therefore may consider the speaker's "subjective intent to
          contribute to any . . . public discourse."  O'Connor v.  Steeves,
          994 F.2d 905, 914 (1st Cir. 1993). Yet the Supreme Court has made
          it pellucid that the First Amendment protects comments privately
          expressed, 
                    see 
                        Givhan v. 
                                  Western Line Consol. Sch. Dist.
                                                                 , 439 U.S.
          410, 415-16 (1979), and that private statements can touch on
          matters of public concern, see Rankin v. McPherson, 483 U.S. 378,
          386 &amp; n.11 (1987). It is thus apparent that the speaker's intent
                                         21

          is only one of a constellation of relevant factors implicated by a
          whole-record review of the speech's form, content, and context.
          See Connick, 461 U.S. at 147-48; O'Connor, 994 F.2d at 914 &amp; n.5.
          The primary focus of the relevant constitutional inquiry must
          remain on the speech's content and the public's perception of the
          topic, not on the speaker's subjective belief as to the
          conversation's confidentiality.
                    We are confronted, then, with a situation in which the
          lower court's resolution of the public concern issue is undermined
          by its incomplete assessment of the form, content, and context of
          Olson's statements. That sort of disconnect is invariably a
          problem for an appellate court. Here, however, the problem is
          exacerbated in two ways.
                    First, if we proceed on the record as it stands, we will
          be compelled to resolve an unsettled question as to what sources an
          appellate court may consult in attempting to ascertain whether a
          statement relates to a matter of public concern. Of course,
          certain things are clear. We know, for example, that Levinsky's
          decision to sue Wal-Mart does not retroactively confer public
          concern status on Olson's statements. To the contrary, media
          coverage of the lawsuit itself is irrelevant on this issue.   See
          Bruno 
                &amp; 
                  Stillman, 
                            Inc. v. Globe 
                                          Newspaper 
                                                    Co., 633 F.2d 583, 591
          (1st Cir. 1980); cf.  Hutchinson v. Proxmire, 443 U.S. 111, 135
          (1979) ("[T]hose charged with defamation cannot, by their own
          conduct, create their own defense by making the claimant a public
          figure."). We know, too, that Levinsky's radio advertisements,
                                         22

          Boardman's interest in the issue, and the 
                                                  Biz article, all of which
          are of record here, constitute relevant evidence that may help to
          determine public versus private concern by clarifying the context
          in which Olson spoke.  See Rankin, 483 U.S. at 381-86 (examining
          contextual evidence to determine whether a challenged statement
          dealt with a matter of public concern). But the record contains
          little else that bears on the public concern issue.
                    Equally as vexing, the appellant has asked us to take
          notice of a substantial body of information _ newspaper and
          magazine articles, excerpts from congressional hearings, and the
          like _ that could have been, but was not, presented below. It is
          uncertain whether we may honor the appellant's request,       see
          Matthews v. 
                     Marsh, 755 F.2d 182, 183 (1st Cir. 1985); 
                                                              United States
          v. Kobrosky, 711 F.2d 449, 456 (1st Cir. 1983); Rosen v.  Lawson-
          Hemphill, 
                    Inc., 549 F.2d 205, 206 (1st Cir. 1976), and, if so,
          whether we should exercise that right.
                    The second complicating factor is that the public concern
          issue is intertwined with the question of actual malice. 
                                                                  See 
                                                                      supra
          Part III(C). Accordingly, even if the "20 minutes" statement
          involved a matter of public concern, an award of presumed damages
          would be constitutionally acceptable as long as the statement had
          been made with actual malice. In itself, this interrelation
          between public concern and actual malice is standard fare. Here,
          however, the district court did not resolve the actual malice
          question, either by submitting it to the jury or otherwise, because
                                         23

          it had ruled against Wal-Mart on the public concern issue.
                    These complications counsel in favor of judicial
          restraint. Although we have the authority to resolve public
          concern issues ab initio at the appellate level, see Connick, 461
          U.S. at 147-48 &amp; n.7, we choose not to exercise that authority in
          this situation. We do not have the benefit of a reliable district
          court decision on the public concern issue; the record is very
          sparsely developed in regard to that issue; what evidence there is
          does not suggest a clear answer to whether or not Olson spoke on a
          matter of public concern; there is a substantial body of relevant
          evidence that was never presented below; and the existence 
                                                                    vel 
                                                                        non
          of actual malice remains problematic. Rather than groping for an
          answer to the question under the combined weight of these
          handicapping circumstances, we think that it would be fairest, all
          around, to remand and give the parties (not to mention the district
          court) a full opportunity to explore all aspects of this issue.
          See 
             Penobscot Indian Nation
                                     v. 
                                        Key Bank
                                                , 112 F.3d 538, 561-62 (1st
          Cir. 1997) (refusing to determine, as a matter of law, "public
          figure" status in a defamation action when presented with
          insufficient record evidence),   petition  
                                                     for  
                                                          cert.  
                                                                 filed, 66
          U.S.L.W. 3130 (U.S. Aug. 4, 1997) (No. 97-219);       cf.  Icicle
          Seafoods, Inc. v. Worthington, 475 U.S. 709, 714 (1986).
                              
                To be sure, the jury did find specially that Olson spoke
          without common law malice (ill will or spite). Notwithstanding the
          similarity in nomenclature, however, common law malice and actual
          malice are not identical. See 
                                       Masson v. 
                                                 New Yorker Magazine, Inc.
                                                                          ,
          501 U.S. 496, 510-11 (1991) (discussing the distinction).
                                         24

          VI. NEGLIGENCE
                    Over Wal-Mart's objection, the court below submitted
          multiple defamation claims ("trashy" and "20 minutes") to the jury,
          which returned only a general verdict. That verdict may have been
          based, in whole or in part, on the improvidently submitted
          ("trashy") claim. Where such a contretemps occurs and a reviewing
          court cannot identify which of the two claims _ one proper and one
          improper _ the jury relied upon to reach the general verdict, the
          usual rule is that the verdict must be vacated.      See  Sunkist
          Growers, Inc. v. Winckler &amp; Smith Citrus Prods. Co., 370 U.S. 19,
          30 (1962); 
                    Lattimore v. 
                                 Polaroid Corp.
                                               , 99 F.3d 456, 468 (1st Cir.
          1996). So it is here. Thus, we must remand for a new trial.
                    In other circumstances, this conclusion might end the
          appellate task. Here, however, the negligence issue persists:
          Wal-Mart assigns error to the district court's refusal to instruct
          the jury that the plaintiff had to show some fault on the
          defendant's part to recover, and this issue is likely to arise on
          retrial. Consequently, we tackle it here.
                    Levinsky's tries to head off this inquiry altogether. It
          asserts that any instructional error was a postmortem wound
          inflicted after Wal-Mart had committed legal suicide both by
          failing to contest Olson's negligence during the trial and by
          admitting negligence in its closing argument. The nisi prius roll
          does not verify this autopsy report.
                    The record clearly shows that Wal-Mart contested
          negligence at all times. Throughout the trial, it endeavored to
                                         25

          demonstrate that Olson's comments were not culpable, but, rather,
          were reasonably based on his personal observation of conditions at
          Levinsky's stores. By the same token, Levinsky's charge that Wal-
          Mart's trial counsel conceded negligence reads too much into too
          little.
                    Specifically, Levinsky's points to the acknowledgement,
          repeated twice in the course of Wal-Mart's summation, that Olson
          "made a mistake." Certainly, an admission of counsel during trial
          is binding on the client. See 
                                        Oscanyan v. 
                                                    Arms Co.
                                                            , 103 U.S. 261,
          263-64 (1880). To qualify as an admission, though, counsel's
          statement, when taken in context, must be clear and unambiguous.
          See 
             MacDonald v. 
                          General Motors Corp.
                                              , 110 F.3d 337, 340 (6th Cir.
          1997); 
                United States
                              v. 
                                 Insurance Co. of N. Am.
                                                       , 83 F.3d 1507, 1511
          n.6 (D.C. Cir. 1996); Schott 
                                       Motorcycle 
                                                  Supply, 
                                                          Inc. v.  American
          Honda Motor Co., 976 F.2d 58, 61 (1st Cir. 1992).
                    Here, counsel's statement that Olson "made a mistake"
          falls measurably short of this benchmark. In its most natural
          iteration, the remark can be understood as referring to Olson's
          breach of his company's media communications policy. Disregarding
          company policy is risky _ but it may or may not be negligent. Few
          would doubt that if Olson could go back in time and exercise his
          option to stand mute in the face of Boardman's interrogation, he
          would do so. Characterizing Olson's conduct as a mistake, then,
          probably had little to do with the issue of negligence. In all
          events, it strains credulity to label counsel's description of
          Olson's actions as a clear, unambiguous admission that those
                                         26

          actions satisfied the legal standard of fault. Consequently, we
          reach the merits of the jury instruction claim.
                    We review challenges to jury instructions with a focus on
          whether the instructions "adequately illuminate the law applicable
          to the controlling issues in the case without unduly complicating
          matters or misleading the jury."  United 
                                                   States v. DeStefano, 59
          F.3d 1, 3 (1st Cir. 1995). An erroneous instruction requires a new
          trial if the preserved error, based on a review of the entire
          record, can fairly be said to have prejudiced the objecting party.
          See United States v. Taylor, 54 F.3d 967, 976 (1st Cir. 1995).
                    In this instance, Wal-Mart requested a jury instruction
          on negligence, but the trial judge denied the request and charged
          the jury on the elements of defamation without mentioning fault.
          Wal-Mart interposed a timely and legally sufficient objection. 
                                                                        See
          Fed. R. Civ. P. 51.
                    The trial judge made his position very clear. He
          reasoned that the doctrine of defamation per se applied, and that,
          because malice is implied in cases of defamation per se, a
          negligence instruction would be pointless. We agree with the
          court's premise but not with its conclusion.
                    As we explained earlier, 
                                            see 
                                               supra Part III(D), Maine law
          does not recognize liability without fault in defamation cases.
          Contrary to the district court's view, Maine's allegiance to the
          doctrine of defamation per se does not alter this rule. That
          doctrine is relevant to damages, not to liability. Under it,
          claimants in certain defamation cases need not prove actual damages
                                         27

          as a prerequisite to recovery.     See Rippett, 672 A.2d at 86
          (applying the doctrine when the defendant's statement adversely
          reflects on the plaintiff's business); 
                                                Ramirez v. 
                                                           Rogers, 540 A.2d
          475, 478 (Me. 1988) (applying the doctrine when the defendant's
          statement implies a false charge of criminal conduct).
                    It is true, of course, that Maine's Supreme Judicial
          Court has held that "malice is implied as a matter of law in
          [defamation per se] cases."  Saunders v. Van Pelt, 497 A.2d 1121,
          1124-25 (Me. 1985). In one sense, that declaration might make it
          seem that the doctrine relieves such a plaintiff of any burden to
          show fault. But as this case proves, appearances are sometimes
          deceiving.
                    Common law malice refers only to state of mind,
          specifically, ill will or spite.      See Masson v.   New  
                                                                     Yorker
          Magazine, Inc.
                       , 501 U.S. 496, 510-11 (1991); 
                                                     Lester, 596 A.2d at 70
          n.8. The concept does not incorporate, and thus cannot subsume,
          any fault standard. This is in sharp contradistinction to actual
          malice, as that term is defined in the vocabulary of the First
          Amendment. Actual malice does incorporate a fault standard _
          "knowledge that [a statement] was false or . . . reckless disregard
          [as to] whether it was false or not."    Masson, 501 U.S. at 510
          (quoting New York Times, 376 U.S. at 279-80). Maine's defamation
          per se doctrine contemplates the common law, rather than the
          constitutional, brand of malice.  See  Michaud v. Inhabitants 
                                                                         of
          Livermore Falls
                        , 381 A.2d 1110, 1113 (Me. 1978). Hence, it is not
          a proxy for the showing of fault that state defamation law
                                         28

          unambiguously requires.
                    A recent deployment of the defamation per se doctrine by
          Maine's highest court dispels any doubt on this score. In 
                                                                   Rippett,
          the trial court granted summary judgment against a plaintiff who
          claimed defamation per se because the police had made statements
          that falsely charged her with criminal activity. 672 A.2d at 84-
          86. The Maine Supreme Judicial Court reversed, holding that the
          plaintiff had adduced sufficient evidence that the defendants had 
          made defamatory statements "on the basis of an investigation so flawed
          as to constitute at least negligence."     Id. at 86. This holding
          effectively reaffirmed Maine's requirement that a negligence element
          must exist in all defamation cases; if defamation per se obviated the
          need to show fault, the Rippett court's discussion of negligence would
          have been superfluous.
                    Accordingly, the court below erred in failing to instruct the
          jury on Maine's negligence requirement in defamation actions. At a
          subsequent trial, the district court should tender such an instruction.
          VI. CONCLUSION
                    We need go no further. Common sense suggests (and the record
          shows) that Olson's comments were intemperate. Still, the statement
          that something (a Levinsky's store, or its contents, or its owner) was
          "trashy" cannot be objectively verified and thus is not actionable in a
          defamation suit. That error poisons the general verdict, even though
          Olson's other statement _ "20 minutes on hold" _ is fit for jury
          consumption. Consequently, the general verdict must be set aside and
          the case remanded for a new trial, subject, however, to whatever
                                            29

          resolution the lower court may make in regard to whether Olson's
          comments implicated a matter of public concern, and if so, whether the
          evidence is sufficient to show actual malice. If a new trial
          transpires, the jury should be instructed, inter alia, on the element of
          negligence under Maine defamation law.
                    Reversed and remanded.
                                            30


